                      Case 2:02-cr-00048-MCE Document 209 Filed 03/20/15PagePage      1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                            1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Eastern District of California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       2:02CR00048-001
                    JAIME RIOS VIZCARRA                                    )
                                                                           )    USM No: 13534-097
Date of Original Judgment:         03/09/2004                              )
Date of Previous Amended Judgment: 3/18/2015                               )    David Porter, Assistant Federal Defender
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                                   *THIRD AMENDED ORDER
                          REGARDING MOTION FOR SENTENCE REDUCTION
                                PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of        the defendant      the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of        188              months is reduced to                 151                  .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                          03/09/2004             shall remain in effect.
IT IS SO ORDERED.

DATED: 03/20/2015

Effective Date:              *11/1/2015                                                  MORRISON C. ENGLAND, JR.
                                                                                    CHIEF UNITED STATES DISTRICT JUDGE
                     (if different from order date)                                                    Printed name and title
